Case 2:05-CV-02041-SHI\/|-tmp Document 67 Filed 06/30/05 Page 1 of 4 Page|D 41

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

JAMES C. BARBER, Sr., )
)

Plaintiff, )

)

v. )
)

RADIANS, INC. )
a Tennessee Corporation, )
and MIKE TUTOR, )
)

)

)

Defendants. )

` n.c.
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ease No. 2. os-cv-02041- Mlhn`“ ]““"`
Hon. Samuel M. Mays, Jr.
U.S. District Judge

Hon. Tu M. Pham
U.S. Magistrate Judge

JURY DEMAND

ORDER GRANTING PLAINTIFF’S MOTION TO FILE UNDER SEAL

Upon consideration of the Motion to File Under Seal filed by J ames C. Barber, Sr., it is

the order of the Court that the Motion is weil-taken and it Should be granted

""
Entered theLd day of g [\J M.» , 2005.

;PMM¢

.Gal\a\nterL'/
d.A Lampley

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Case 2:05-cV-02041-SHI\/|-tmp Document 67 Filed 06/30/05 Page 2 of 4 Page|D 42

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing has been served upon Paul B.
Billings, Jr., Castle & Billings, PLC, 6555 Quince Rd., Suite 109, Memphis, TN 38119-8220
and Howard L. Cleveland, IV, Kiesewetter, Wise, Kaplan, Schwirnrner & Prather, 3725

Champion Hills Dr., Ste. 3000, Memphis, TN 38125, by first class U.S. mail, postage prepaid
this z_y day ofJune, 2005.

 

J 0 . Gala`nte§'/

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This notice confirms a copy of` the document docketed as number 67 in
case 2:05-CV-02041 Was distributed by f`aX, mail, or direct printing on
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Case 2:05-cV-02041-SHI\/|-tmp Document 67 Filed 06/30/05 Page 4 of 4 Page|D 44

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Honorable Samuel Mays
US DISTRICT COURT

